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     PAEA024 1                                                                                            Pagel
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                                    IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN
                                            '
                                                  DISTRICT OF PENNSYLVANIA
                                                                        ,,



                                      Petition for Relief from a Conviction or Sentence
                                                 By a Person in State Custody
                              (Petition Unde~-28-U.S.C. § 2254 for-a Writ of-Habeas Corpus)- - - - - - - -


                                                      INSTRUCTIONS

        1. ·         To use this form, you must be a person who is currently serving a sentence under a
                     judgment against you in a state court. y OU are asking for relief from conviction of the
                     sentence. , This form is your petition for relief. ·

        2.           You may also use this form to challenge a state judgment that imposed a sentence to be
                     served in the future, but you must fill in the name of the state where the judgment was
                     entered. If you want to challenge a federal judgment that imposed a sentence'to' be served
                     in the future, you should file a motion under 28 U.S .C. § 2255 in the federal court that
                     entered the judgment.                                               ·          '

      . 3.           Your habeas corpus petition must be filed within the 1-year statute of limitations time
                     limit set forth in 28 U.S .C. § 2244(d)(l). (There are li_mited circumstances in which the
                     petition may be amended, within the one-year"time period, to add additional claims or
                     facts, see F ede·rat Rules of Civil Procedure 15; or amended after the one-year period
                     expires, in order to clarify or amplify claims which were timely presented, see United
                     States v. Thomas, 221 F. 3d 430 (3d Cir. 2000)).

        4.           , Make sure the form is typed or neatly written.

        5.            You must tell the truth and sign the form. If you make a false statement of a material fact,
                      you· may be prosecuted for perjury.

        6.            Answer all the questions. You do not need to cite law. You may submit additional pages
                      if necessary. If you do not fill out the form properly, you will be · asked to submit
                      additional or correct information. If you want to submit a brief or argument, you must
                      submit them in a separate memorandum.

         7.           You must pay a fee of $5. If the fee is paid, your petition will be filed. If you cannot pay
                      the fee, you may ask to proceed in forma pauperis (as a poor person). To do that, you
                      must fill out an Application to Proceed in District Court without Prepaying Fees or Costs.
                      Also, you must submit a certificate signed by an officer af the institution where you
                      are confined showing the amount of money that the institution is holding for you.
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                  8.           In this petition, you may challenge the judgment entered by 'o'n ly one court. If you want to
                               challenge a judgment entered by a different court (either in the same state or in different
                               states), you must file a separate petition.

                 As required by 28 U.S.C. § 2254(b)(l), you must have exhausted all claims that you are
                  9.
                 making in your petition. This means that every claim must have been presented to each
- - - - - - - - -level of the state courts:-If-you file-a petition-that-contains-claims-tha are-not-exh-au tea,
                 the federal court will dismiss your petition. 28 U.S .C. § 2254(b)(2) provides that the
                 federal court may deny your petition on the merits even if you have not exhausted your
                 remedies.      ,_
                                               ,..j

                  10.          As required by 28 U.S.C. § 2244(b)(l), a federal court must dismiss any claim in asecond
                               or successive habeas corpus petition that was presented in a pr~or habeas corpus petition.

                  11.          As required by 28 U.S.C. § 2244(b)(2), a federal court must dismiss any claim in a second
                               or successive habeas corpus petition that was not presented in a prior habeas corpus
                               petition unless you show:

                               (A)     the claim relies on a new rule of constitutional law, made retroactive to cases on
                                       collateral review by the U.S. Supreme Court, that was previouslyunavailable; or

                               (B)     (i) the factual predicate for the claim could not have been discovered previously
                                      .through the exercise of due diligence, and (ii) the facts underlying the claim, if
                                       proven and viewed in light of the evidence as a whole, would be sufficient to
                                       establish by clear and convincing evidence that, but for constitutional error, no
                                       reasonable fact finder would have found you guilty of the offense in question.

                               Before such a second or successive petition may be filed in the district court, however, the
                               petitioner must move in the court of appeals for an Order authorizing the district court to
                               consider the petition. Petitioner's motion for such an Order must be determined by a three
                               judge panel of the court of appeals, which must grant or deny the motion within 30 days.
                               The court of appeals may grant the motion only if it determines that the petition makes a
                               prima facie showing that it satisfies either_(A) or (B) above.

                   12.          When you have completed this form, send the original and these instructions to the Clerk
                                of the United States District Court at this address :

                                                              Clerk
                                                              United States District Court
                                                              for the Eastern District of Pennsylvania
                                                              601 Market Street, Room 2609
                                                              Philadelphia, PA 19106
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   13.          CAUTION: You must include in this petition all the grounds for relief from the
                conviction or sentence that you challenge and you must state the facts that support
                each ground. If you fail to set forth all the · grounds in this petition, you may be
                barred from presenting additional grounds at a later date.

   14.          CAPITAL CASES: If you are under a sentence of death, you are entitled to the
                assistance of counsel and should request the appointment of counsel.
PAE AO 240 (Rev. 10/09) - Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)
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                                       UNITED STATES DISTRICT COURT
                                                                          FORTHE
                                EASTERN DISTRICT OF PENNSYLVANIA



                                                                                   )
                                       P/ainti
                                                                                   )
                                           V.                                      )       Civil Action No.
                                                                                   )
                                      Defendant                                    )
                                                                                   ),
                                                                                   )
                                                                                   )
                                                                                   )
                                                                                   )


APP LI CA TIO:\ FOR PRISO'.'IERS TO PROCEED IN DISTRICT COURT \VITHOUT PREP AYING FEES OR COSTS
                                                                          (Short Form)

          I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings
and that I am entitled to the relief requested.


            In support of this application, I answer the following questions under penalty of perjury:

             l.           If incarcerated. I am being held at: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          I am employed there, or have an account in the institution, I have attached to this document a statement
certified by the appropriate institutional officer showing all receipts, expenditures, and balances during the last six
months for any institutional account in my name. I am also submitting a similar statemerit from any other institution
where I was incarcerated during the last six months.

             2.           If not incarcerated. If I am employed, my employer's name and address are:




My gross pay or wages are: $ - - - - - - - - ~ and my take-home pay or wages are: $_ _ _ _ _ __
per _ _ _ _ _ _ _ _ __
            {specify pay period)


             3.           Other Income. In the past 12 months, I have received income from the following sources (check
                          all that apply):

                          (a)           Business, profession, or other self-employment                            • Yes   • No
                          (b)           Rent payments, interest, or dividends                                     • Yes   • No
                          (c)           Pension, annuity, or life insurance payments                              • Yes   • No
                          (d)           Disability, or worker's compensation payments                             0 Yes   O No
                          (e)           Gifts, or inheritances                                                    • Yes   • No
                          (f)           Any other sources                                                         • Yes   • No
    PAE AO 240 (Rev. 10/09)-Application to Proceed ln-Oistrict Court Wi1hout Prepaying Fees or Costs (Short Form)                                       Page2

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.             Ifyou answered "Yes" to any question above, describe ·below or ow.separate p_ag,weach source ofmoney
    and state the amount that you receivedand~hatyou expect to receive in.the future.                                                               ·




                4.           Amount of money that I have in cash or in a checking_or savings account:$_ _ _ _ _ _ _ __

                5.           Any automobile, real estate, stock, bond, security, trust, jewelry, artwork, or other financial
                             instrument or thing ofva)ue that I               awn,
                                                                     iocl11diog any item afvalue.held..in...someone...e~- - -- - - - - -
                             (describe the property and its approximate value) :



                6.           Any housing, transportation, utilities, or loan payments, or other regular monthly expenses
                             (describe· and provide the amount of the monthly expense): _ _ _ _ _ _ _ _ _ _ _ _ _ __




                7.           Names ( or, if under 18, initials only) of all persons who are dependent on me for support, my
                             relationship with each person, and how much I contribute to their support:


                8.           Any debts or financial obligations (describe the amounts owed and to whom they are pay able) :




              Declaration: I declare under penalty of perjury that the above information is true and understand that a
    false statement may result in a dismissal of my claims.



                     Date                                                                                           Applicant 's signature



                                                                                                                        Printed name



             9.       Certification of Prisoner's Institutional Account Balance: An authorized prison official must
    complete the certification below, and furnish a ce11ified copy of your institutional account statement showing all
    deposits, withdrawals, and balances for the prior six-month period, to be filed with this application.

          I certify that the prisoner named herein has the sum of$ _ _ _ _ _ _ _ _ _ on account at
    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ correctional institution, where he is presently confined.

            I further certify that during the prior six-month period, the prisoner's average monthly account balance was
    $ _ _ _ _ _ _ _ _ ; and that the average amount deposited monthly in the account during the prior six-month
    period was$ _ _ _ _ _ _ _ __




                     Signature and Title of Authorized Prison Official                                                                       Date
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·,•
•
                        PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF HABEAS CORPUS
                                    BY A PERSON IN STATE CUSTODY

                  United States District Court                 District: Eastern District of Pennsylvania

      l\"ame (under which you were convicted):                 Docket or Case No.:

        FRANK           HYMAN                                     CP-51-CR-0002579-2007
      Place of Confinement:                                    Prisoner No.:
                      SCI- FRACKVILLE                                           JZ-6112

      Petitioner (Include the name under which you             Respondent (Name of Warden, Superintendent, Jailor, or authorized person having
      you were convicted):                                     custodyof petitioner):

        FRANK           HYMAN                                                      KATHY         BRITTAIN

                                                                                             and
                                                          V.

                                                                The District Attorney of the County of:            PhiladQ lpbia
                                                                                             and

                                                                The Attorney General of the State of:           Pennsy 1vania


                                                                  PETITION          ,

          1.           (a) Name and location of court that entered the judgment of conviction you are challenging:
                       The Justice Juanita Kidd Stout Center For Criminal Justice
                       1301 Filbert street,                     Philadelphia, PA 19107



                       (b) Criminal docket or case number (if you know): CP-51-€R-00025 7 9-2007


          2.           (a) Dateofjudgmentofconviction(ifyouknow): December 10, 2010


                       (b) Date ofsentencing: April 20,             2011


          3.           Length ofsentence: 2 0years -            40years


          4.           In this case, were you convicted on more than one count or of more than one crime?                    ~Yes         •   No


          5.           Identify all crimes of which you were convicted and sentenced in this case:A t tempted M11rd er,
                      Aggravated Assault.
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   6.           (a) What was your plea? (Check one)
                       ~ (1)       Not Guilty                        D (3)    Nolo contendere .(no contest)
                        D (2)      Guilty                            D (4)     Insanity plea


                (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what
                                                                                            .                   .

                                                                                                 _=
                      did ou lead tiilty to and what did ou Jlkad not g\J.il.WQ.L.-.....,N""'L'""A.,.   ~== = = = ====-- - -




                (c) If you went to trial, what kind of trial did you have? (Check one)

                      I] Jury                  D Judge only

   7.           Did you testify at a pretrial hearing, trial,, or a post-trial hearing?

                      Iii Yes                  • No     ·

   8.           Did you appeal from the judgment of conviction?

                      IXl Yes                  •   No

   9.           If you did appeal, answer the following:

                (a) Name ofcourt:        The Superior Court Of Pennsyl°vania
                (b) Docket or case ~umber (if you know):         _1_4_2_2_=E..ccD...c.A"--2CC.....C.O..cc1'--"1~------------
                (c) Re.suit: - - - 1 . . u : ; . . L L . L . . c . . i . L - - - - - - - - - - - - - - - - - - - - - - - - - -
                (d) Date of result (if you know): =O=c'--'t=o=b=e=r--=2:..:5"--,_=2=0-"'1'""'3<---------------
                                                Commonweal th v. Frank Hyman
                (e) Citation to the case (ifyouknow) :
                (t)    Grounds raised: 1. The Court erred by imposing the deadly weapon
                      enh~~cement during sentencing because the jury acquited apellant
                      of all gun possession charges.
                      2. The court etred by relying on personal feelings when
                         rendering appellant's sentence.
                      3.(a) The evidence was insufficient to support the verdict; (b)
                      the wei ht of the evidence was contrar to the verdict; and (c)
                      Pease see attachment page 5 attachment)
                (g) Did you seek further review by a higher state court?
                            IX Yes              D No
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."Page 5 attachment .

. (c)the charge to the jury regarding accomplice liability impermissibility
 was improper.
  4. The Commonwealth·improper 1 y re f erence d appellants
                                                         1
                                                            previous silence before
  trial.
  5 -!he Court erred by admitting evidence of a weapon located in a vehicle in
  which appellant's identification was found.
  6 · The Court erred by denying appellant's motion for a mistrial following
 testimony that appellant was incarcerated prior to trial.
7. Tme evidence was insufficient to support the verdict because there was no
evidence that the appellant intended to kill or injure Timothy Scott, caused
Timothy Scott's injury, or encouraged, directed, ordered, or facilitated any
other person to kill or injure Timothy Scott.
8. The errors enumerated in matters 1-7 violated appellant's due process rights
9. The evidence was insufficient to support the verdict and the weight of the
evidence was contrary to the verdict because the only evidence presented by
the Commonwealth was materially contradictory and inconsistent witness testimon
regarding the shooting.
10. The Court erred by denying Appellant's request to call a toxicologist and
hospital staff as witnesses.
11. The Court erred by (a) allowing the Commonwealth to add charges against
appellant at the end of the trial; and (b)instructing the jury according to
accomplice liability.
12.The Court erred by failing to ascertain whether appellant was competent to
stand trial and to be sentenced. Specifically, the Court failed to discover
that appellant was under medication that made him unable to ,comprehend his
sentencing/trial.
13. The Commonwealth knowingly allowed false testimony by stating that one ; of
it's witnesses was incarcerated for a violation of probation. When this
witness was actually incarcerated for open criminal matters and promised
leniency for testfying.
14. The Commonwealth im~roperly withheld evidence of a firearm, a car, and a
appellant's identification card until the day of trial.
15.The Court erred by failing to provide Appellant with ."complete undoctored
transcripts."
16. The Court violated the Code of Judicial Conduct and the Pennsylvania
Constitution by (a) rushing Appellant's trial; (b) failing to recuse itself
because the victim in this case was on the courts probation; (c) advising
Appellant's counsel to accept the Commonwealth's offer to plead guilty; (d)
failing to be impartial by referring to itself and the prosecutor as 1.~ we".

17. The Court improperly allowed the Commonwealth to ask leading questions
during the examination of Timothy . Scott.

 see next attachmen t    c
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Page 5 attachment continued ...

18. The Court improperly denied the jury's request to view evidence.
19.The Court showed bias and prejudice, and denied the defendant his right to
a fair trial by instru~ting the jury regarding accomplice liability.
20. The Court erred by allowing hearsay testimony by sergeant Potter.
21.The Court erred by allowing the prosecutor to ask leading questions on
direct ~xamination and by_encouraging the prosecutor to lead the witness "and
even going as_far as telling the prosecutor that there will be appropiate times
to lead the witnesses"

22. The Court erred by referencing witness intimidation several times, despite
no evidence to support this accusation against Appellant.
23. The Court erred by waiting until the middle of trial to review exculpatory
evidence that had been submitted weeks earlier, then refusing to allow the jury
to see it.
24. The Court erred by not allowing Appellant to testify regarding an incident
in which he was stabbed in order to rebut testimony from a Commonwealth witness
that the defendant "thinks he's untouchable."
25. The Court erred by refusing to instruct the jury on consciousness of guilt
regarding witness intimidation conducted on Appellant's behalf and on access
to weapons regarding the firearm found in the car with Appellant's identificatio1

26. The Court's instruction to the jury misstated the law regarding attempted
murder.
27. The Court erred by instructing the jury to "find defendant guilty against
their belief".
28. The Court erred by denying Appellant the right to be present during all
stages of the proceedings.

29. The docket erroneously lists charges as having been nolle prossed.
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                                                     If yes, answer the following:
                           Name of court: _T_h_e_._P_e_n_n_s_y_l_v_a_n_1_·a__S_u_p_r_e_m_e_C_o_u....:.r_t________
                                                     (1)
                    (2) Docket or case number (if you know): _5_8_9_E_A_L_2_0_1_3____________
                    (3) Result: Denied
                    ( 4) Date ofresult (if you know): _M:.....__a_r_c_h_,._1_8_,__2_0_1_4______________

                    (5) Citation to the case (ifyouknow): Commonweal th v. FRANK HYMAN
- - - - - -- - - --1·- fr)-Grounds-raised:-D-i-d- I1-G-t - t-he-s-ld-p-e-:t=-i-0-1=--G.-0-1:1-r-t~ e-1=-1:--:i:-R-£-0-t----f--i--ncl-i-ng-th-a-t- -
  the PCRA co u rt erred by not granting relief, on the issue _that counsel was
  ineffective .. 2. The PCRA Court erred in denying Petitioner's PCBA Petition
 without an e v identiary hearing on the issues raised in the amended P~RA Petition.

                                                 (h) Did you file a petition for certiorari in the United States Supreme Court?
                                                          • Yes              ~No
                                                     If yes, answer the following:
                                                                                                    NA
                                                     (I) Docket or case number (if you know):---'- - - - - - - - - - - - - - - - - -
                                                     (2) Result: ____________________________
                                                     (3) Date of result (if you know): ______________________
                                                     (4) Citation to the case (ifyouknow): ____________________

                                                 (i) Other than the direct appeals listed above, have you previously filed any oth.:r petitions, applications,
                                                     or motions concerning this judgment of conviction in any state court?
                                                           IT-Yes           D No
                                    I 0.         If your answer to Question 10 was "Yes," give the following information:
                                                 (a) (I) Nameofcourt: Post Conviction
                                                      (2) Docket or case number (if you know): CP- 51- CR-0002 5 7 9-200 7
                                                      (3) Dateoffiling(ifyouknow): August 5, 2014. Amended May 3, 2016.

                      Nature of the proceeding: --=P'-C::::.cR:..:A=-=--------------------
                                                     ( 4)
                  (5) Groundsraised: Ineffective assistance of counsel. 1.Trial counsel
 failed to sufficiently cross examine Mr. Scott (witness); 2.Trial counsel
 allowed the Commonwealth to introduce prejudicial evidence of two pr.ior
  _: . · , - .:-, ......:   !

 jfrv~rii1e adjudications; and 3. Appellate counsel failed to raise obvious
 additional points to the Superior C6urt regarding improper sentencing procedures.
 With regard to the first claim, The prosecutor was able to state without objectio
 from trial counsel that Timothy Scott was incarcerated fo~ violating his probatio
 • However, in fact, he was incarcerated for open ciiminal. matters and promised
 1~~i~~~½ ;t~~ testifying against the petitioner. With regard to the second claim
                                           0


 f6i iri~ff~~five assistance of counsel, Trial counsel wa~ ineffective for
 stipulating to the introduction of inadmissible evidence, which undercut the
  retitioners only defense and prejudiced him. Third and Fi~al ~laim Petitioner
 ·_a vers that Appellate Counsel did not properly                     '
 .                                                present numerous sentencing issues
 to the Pennsylvania Superior court, causing that tribunal to erroneously deny
 Petitioner's appeal of his sentence.
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                    (6) Did you receive a hearing where evidence was given on your petition, application, or motion?
                              0 Yes        IXI No

                    (7) Result: DENIED
                    (8) Date of result (ifyouknow):     December 19, 2018


                (b) If you filed any se~ond petition, application, or motion, give the same information:
                    (I) Name of court: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    (2) Docket or case number (ifyouknow): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    (3) Date of filing (ifyouknow): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    (4) Nature of the proceeding: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                  _ (5) Grounds r a i s e d : - - - - , - - - - - - - - - - - - - - - - - - - - - - - - - -




                    (6) Did you receive a hearing where evidence was given on your petition, application, or motion?
                              D Yes        ~ No

                    (7) Result: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    (8) Date of result (ifyouknow) : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                (c) If you filed any third petition, application, or motion, give the same information: ·
                     (I) Name of court: ___.t.J_._._t\,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     (2) Docket or case number (if you know): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     (3) Date of filing (ifyouknow) : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     (4) Nature of the proceeding: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     (5) Grounds raised: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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                                (6) Did you receive a hearing where evidence was given on your petition, application, or motion?
                                          D Yes           IXl No



     *                          (7) Result: _Dc::e:..en"-'1.=-·-"'e""'---------------------------
                                (8) Date ofresult (if youknow): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                            (d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition,
                                application, or motion:


                                  (1)   First petition:              89    Yes                   •     No
                                  (2)   Second petition:             •     Yes                   •     No
                                  (3)   Third petition:              •     Yes                   •     No


                            ( e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:

                                 N/A


               11.          For this petition, state every ground on which you claim that you are being held in violation of the
                            Constitution, laws, or treaties of the United States. Attach additional pages if you have more than four
                            grounds. State the facts supporting each ground.

                            CAUTION: To proceed in the federal court, you must ordinarilv first exhaust (use up) your available state-
                            court remedies on each ground on which you request action by the federal court. Also. ·if you fail to set
                            forth all the grounds in this petition. you may be barred from presenting additional grounds at a later date .


                            GROUND ONE:
                             6th Amendment violations; and 14th Amenrlment
                             violation.

                            (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support you'.claim.):
                  The Court ccimmitted error of iaw and/or abused her discretion
     i~g~rding sentencing guidelines by imposing the Deadly Weapon Enhancement)
     which does not apply to an unarmed accompli"ce. The jury specifically rendered
     a verdict of Not Guilty as to gun possession charges.
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  ..                          (b) If you did not exhaust your state remedies on Ground One, explain why: _N_A
                                                                                                            _________




- - - - - - - - - - ( c• -Direct-Appeal-of-GroundOne~.- - - - - - - - - ' - - - - - - - - - - - - - - - - - - - -
                                  (I) If you appealed from the judgment of conviction, did you raise this issue?
                                           lZYes           •   No
                                  (2) If you did not raise this issue in your direct appeal, explain why? _ _ _ _ _ _ _ _ _ _ __




                              ( d) Post-Conviction Proceedings:

                                  ( 1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a
                                      state trial court?
                                           I Yes .         •   No

                                  (2) If your answer to Question (d)(l) is "Yes," state:

                                      Type of motion or petition:   PCRA- Post Convic t _ion Relief Act
                                                                           The Philadelphia Court
                                       Name and location of the court where the motion or petition was filed:
                                       of Common Pleas. 1301 Filbert st. Phila, PA 19103
                                       Docket or case number (if you know):    CP-51-CR-0002 5 7 9-200 7
                                       Date of the court's decision:   December 19, 2018
                                       Result (attach a copy of the court's opinion or order, if available) : _ _ _ _ _ _ _ _ _ __




                                  (3) Did you receive a hearing on your motion or petition?               D     Yes          ~    No
                                  ( 4) Did you appeal from the denial of your motion or petition?         ~     Yes          •    No
                                  (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?
                                            BYes           •   No

                                  (6) If your answer to Question (d)(4) is "Yes," state:
                                       Nameandlocationofthecourtwheretheappealwasfiled:             .The Supreme Court Of
                                      Pennsylvania Eastern District
                                       Docket or case number (ifyou know):     NO • 1 91 EAL 2 0 2 0
                                       Date of the court's decision:   December 2, 2020
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                                     Result (attach a copy of the court's opinion or order, if available): _ _ _ _ _ _ _ _ _ __




                                (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why_you did not raise this
_ _ _ _ _ _ _ _ _ _ _ ___,·ssue::~.!i!::::_======================================----




                            (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies,
                                etc.) that you have used to exhaust your state remedies on Ground One: _N---'--/_A__·_·_____




                            GROUNDTWO:          6th Amendment Violation, 14th Amendment violation.

                            (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
                      The Court committed error of law and/or abused her discretion in
                       relying upon personal feelings when rendering sentence, not
                       evidence of aggravating circumstances. The Court stated that she
                       didn't know why the jury found the defendant Not Guilty of all
                       the other charges, but stated that she personally feels as though
                       he was guilty.


                                                                                                      NA
                            (b) lfyou did not exhaust your state remedies on Ground Two, explain why: _ _ _ _ _ _ _ _ __




                            (c) Direct Appeal of Ground Two:
                                 (I) If you appealed from the judgment of conviction, did you raise this issue?
                                           IXJYes       •   No
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                    (2) If you did not raise this issue in your direct appeal, explain ,why? _N_A_
                                                                                                 . __________




                ( d) Post-Conviction Proceedings:

                    (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a
                        state trial court?

                            ll.   Yes     •         No
                    (2) If your answer to Question (d)(l) is "Yes," state:
                                                         PCRA .
                        Type of motion or petition: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                             The Phi lade 1 phi a Court
                        Name and location of the court where the motion or petition was filed:
                        of Common Pleas. 1301 Filbert st. Phila, PA 19103
                        Docket or case number (ifyciu know) :   CP-51-CR-0002 57 9-200 7
                        Dateofthecourt'sdecision:        December 19, 2018
                        Result ( attach a copy of the court's opinion or order, if available): _ _ _ _ _ _ _ _ _ __




                    (3 ) Did you receive a hearing on your motion or petition?                       •    Yes          -~    No
                    (4) Did you appeal from the denial of your motion or petition?                  fu    Yes          •      No
                    (5) If your answer to Question (d)( 4) is "Yes," did you raise this issue in the appeal?
                              121 Yes      D No
                    (6) If your answer to Question (d)(4) is "Yes," state:
                         Name and location of the court where the appeal was filed :   The Supreme Court Of
                        Pennsylvani? Eastern District
                        Docket or case number (if you know) : _1_9_1_E_A_L_2_0_2_0___________

                         Date of the court's decision:   December 2 2020
                         Result (attach a copy of the court's opinion or order, if available) : _ _ _ _ _ _ _ _ _ __




                     (7) If your answer to Question (d)( 4) or Question (d)(S) is ''No," explain why you did not raise this
                          issue:....,_._.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 _,
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                      (e) Other Remedies: Des.cribe any other procedures (such as habeas corpus, administrative remedies,
                          etc.) that you have used to exhaust your state remedies on Ground Two : ·    NA
                                                                                                      ----------




                  GROUNDTHREE:Sth Amendment, 6th Amendment, And 14th Amendment
                 viola·t'ions.

                      (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
      The Court abused her discretion and/or erred at law in permitting the
      Commonwealth to make reference to the Defendant's previous silence
      durin----~--------:-------:-,,---------------------
             trial.




                      (b) If you did not exhaust your state remedies on Ground Three, explain why: __N_A________




                      (c) Direct Appeal of Ground Three:
                           (1) If you appealed from the judgment of conviction, did you raise this issue?
                                         [&}Yes             •   No
                           (2) If you did not ra ise this issue in your direct appeal, explain why?   _N_A__________




                 · (d) Post-Conviction Proceedings:

                           (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a
                               state trial court?

                                     'x!Yes        DN:o

                           (2) lf your answer to Question (d)( 1) is "Yes," state:

                                Type of motion or petition:   PCRA
                                                              - -------------------
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                        Name and location of the court where the motion or petition was filed: The Philadelphia Court
                        of common pleas. 1301 Filbert st. Phila, PA 19103
                        Docket or case number (if you know):      CP-51-CR-0002 5 7 9-200 7
                        Date of the court's decision:   Dec 1 9       2018
                        Result (attach a copy of the court's opinion or order, if available): _ _ _ _ _ _ _ _ _ __




                   (3) Did you receive a hearing on your motion or petition?                        D    Yes          IX       No
                   ( 4) Did you a:ppeal from the denial of your motion or petition?                ~     Yes          •        No
                   (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?
                             12iYes        D No

                   (6) If your answer to Question (d)(4) is "Yes," state:
                        Name and location of the court wh~re the appeal was filed:    The SU pre me CO Ur t of                      -=- = ·- ·- .,: ·' -
                       Pennsylvania Eastern District
                        Docket or case number (ifyou know) :      NO , 1 91 EAL 2 0 2 0

                        Date of the court's decision: ---'D~e~c--'2=-+~2~0~2~0------,------------

                        Result (attach a copy of the court's opinion or order, if available): _ _ _ _ _ _ _ _ _ __




                    (7) If your answer to Question (d)(4) or Que~tion (d)(5) is "No," explain why you did not raise this
                        issue:     NA




                (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies,
                    etc.) that you have useci to exhaust your state remedies on Ground Three:   _N_A________




                GROUND FOUR:            6th Amendment violations, and 14th Amendments
                violations.
                (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.): .
         The Court abused her discretion and/or erred at law aud denied the
         Defendant his r~ght to a fair trial by the admission of evidence
         of a weapon located in a vehicle iu which the defendant's Identifi-
        cation was f?~nd where t~ere was no evidence the weapon was used     ·
        or tn~oiMed ~nth~ §hgoting. Where the weapon was excluded by
        balli st ic evidence, and where there was no evidence the weapon was
        pu     g,; a ~      · i   iik
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            present on th~ scene of the crime, nor located in the vehicle
            at the time of the involved shooting. As such, said evidence
           could not have been relevant tor any legitimate purpose at trial.
                 \
                (b) If you did not exhaust your state remedies on Ground Four, explain why:     NA




                (c) Direct Appeal of Ground Four:
                     (1) If you appealed from the judgment of conviction, did you raise this issue?
                              00 Yes        D No
                                                                                               NA
                     (2) lfyou di_d not raise this issue in your direct appeal, explain why? _ _ _ _ _ _ _ _ _ _ __




                (d) Post-Conviction Proceedings:

                     (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a
                         state trial court?      ·


                              IX! Yes       D No

                     (2) If your answer to Question (d)(l) is "Yes," state :

                         Typeofmotionorpetition:    PCRA- Post conviction relief . act
                         Name and location of the court where the motion or petition was filed : The Phi lade 1 phi a Court
                         Of Common Pleas. 1301 Filbert st. Phi la, PA 19103
                         Docket or case number (if you know) : CP-51-CR-0002 5 7 9-2007

                          Date of the court's decision:   December 19, 2020
                          Result (attach a copy of the court's opinion or order, if available): _ _ _ _ _ _ _ _ _ __




                      (3) Did you receive a hearing on your motion or petition?                       •      Yes        •     No
                      (4) Did you appeal from the denial of your motion or petition?                  r2ii   Yes        •     No
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                                   · (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?
                                              ~Yes          •    No

                                     (6) If your answer to Question (d)(4) is "Yes," state:
                                                                      ·                                The Supreme Co~rt Of
- - -- - -- -- - - - ---i-.amec-and-location-ofthe-court-where-the,1ppea-J:-was-ti:led. _ _ _ _ _ _ _ _ _ _ _ _ __
                                         Pennsylvania Eastern District
                                         Docket or case number (if you know): _1_9_1__E_A_L_._2_0_2_0_____~ - - - - - -

                                         Date of the court's decision: _ _D_e_c_e_m_b_e_r
                                                                                       __2--"-,--'2_0_2_0____________
                                         Result (attach a copy of the court's opinion or order, if available) : _ _ _ _ _ _ _ _ _ _ __




                                     (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this
                                                 NA                                               .
                                         issue:---------------------------------




   See Attached~ Ground Five
                                 (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrativ:e remedies,
                                     etc.) that you have used to exhaust your state remedies on Ground Four: ~N~/_A________




                  12.            Please answer these additional questions about the petition you are filing :

                                 (a) Have all grounds for relief that you have raised in this petition been presented to the highest state court
                                     having jurisdiction? -

                                          IYes               •   No

                                     If your answer is "No," state which grounds have not been so presented and give your reason(s) for not
                                     presenting them: __N_A
                                                          _____________________________




                                     .
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 GROUND FIVE:

6th Amendment, and 14th Amendment violations.

(a) Supporting facts.

The Defendant's defense was prejudiced by Prosecutorial Misconduct where the

district attorney knowingly allowed false testimony in defendant's trial by

stating "Commonwealth witness Timothy Scott, was incarcerated for violation of

probation". Whereas he was actually incarcerated for open criminal matters in

which he was promised leniency for his testimony. Also allowed              Mr. Scotts

coerced statements, showed Mr. Scott a copy of defendant's ID, a picture of a

gun, and a copy of other witnesses testimony at defendant's Preliminary hearing.

(c) Direct Appeal of Ground Five:
X yes

(d) Post-Conviction Proceedings:
x yes

PCRA- Post Conviction Relief Act

The Philadelphia Court Of Common Pleas. 1301 Filbert st. Phila, PA 19103.

Docket: CP-51-CR-0002579-2007

Date of court's decision: Dec 19, 2020

x No.

x Yes.

x Yes.

x Yes

The Supreme Court Of Pennsylvania Eastern District/
Docket bo, 191 EAL 2020.

Date of court's decision: December 2, 2020.

result attach.

GROUND SIX:
 6th Amendment violation.

 (a) Supporting facts:

 The trial court's inappropiate/misleading instructions stripped the jury of
 their power/duty as fact finders.
 (c) Direct appeal of Ground Six: -
 yes.
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°(2) NA

 (d) Post-Conviction Proceedings:
.(1) yes
(2) PCRA- Post Conviction Relief Act
The Philadelphia Court of Common Pleas, 1301 Filbert st. Phila, PA 19103.
Docket: CP-51-CR-0002579-2007.
Date of the courts decision:     December 19, 2018.
Result.
(3) No.

(4) yes.
(5) yes.
(6) The Supreme Court Of Pennsylvania, Eastern District.
Docket no. 191 EAL 2020.
Date of court's decision:    December 2, 2020
Result (attach copy , if available)
(7) NA
(e)   NA
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                 · (b) Is there any ground in this petition that has not been presented in some state or federal court? Ifso,
                         whic·h ground or grounds have not been presented, and state your reasons for not presenting them:
                       NA




     13 .            Have you previously filed any type of petition, application, or motion in a federal court regarding the
                     conviction that you challenge in this petition?

                              D Yes              l!9 No

                     If"Yes," state the name and location of the court, the docket or case number, the type of proceeding, the
                     issues raised, the date of the court's decision, and the result-ff each petition, application, or motion filed.
                     Attach a copy of any court opinion or order, if available. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




     14.             Do you have any petition or appeal now pending (filed and not decided yet) in <1-ny court,.either state or
                     federal; for the judgment you are challenging?                                           ·             ·

                              D Yes              esJ No

                     If "Yes," state the name and location of the court, the docket or case number,_the type of proceeding, and
                     the issues raised: _N_A
                                           _________________________________




      15 .           Give the name and address, if you know, of each attorney who represented you in the following stages of the
                     judgment you are challenging;.

                     (a) At preliminaryhearing:      David S. Glanzberg, esg.

                     (b) Atarraigrimentandplea:      David S.Glanzberg, esq_.
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                (c) Attrial:  Jason GreshesID# 71903 1800 JFK Blvd Suite# 300 Phila,
                           -PA 19102
                (d)   Atsentencing: . jason Greshes 1800 JFK Blvd Ste #300 Phila, PA 19102




                W on~p~l Elayne Bryn 2 Penn Center Plaza Ste#1230 Phila,PA 19102

                                                         Peter A Levin . 1927 Hamilton st. Phila,
                (t) I~ any post-conviction proceeding: - ~ - - - - - - ' - - - - - - - - - - - - - - - - -
                      PA 19130

                (g) On appeal from any ruling against you in a post-conviction proceeding:    Peter A. Levin ,
                  1927 Hamilton st. Phil~, PA 1~130



16.             Do you have any future sentence to se_rve after you complete the sentence for the judgment that you
                are challenging?                                                         ·

                         D Yes             ~ No

                (a) Ifso, give the name and location of the court that imposed the other sentence you will serve in the
                    future : NA
                           --------------------,--------------
                                                                   N_A_________________
                (b) Give the date the other sentence was imposed: __

                (c). Give the length of the othersentence: _NA
                                                            _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be
                    served in the future?

                           D Yes           ~   No


 17.            TIMELL~ESS OF PETillON: If your judgment of conviction became final over one year ago, you
                must explain why the one-year statute of limitations as contained in 28 U .S.C. § 2244(d) does not bar
                ypur g_etition*
                My Direct Appeal was decided on December 2, 2020. -
                Post Conviction was decided December 19, 2018.
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                           * The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. §
                   2244(d) provides in part that:                                                               ·

                           A one-year period of limitation shall apply to an application for a writ of habeas corpus by a
                                   (1)
                           person in custody pursuant to the judgment of a State Court. The limitation period shall run from
- - - - - - - - - - - - - -·tneratest o -

                                           (A) the date on which the judgment became final by the conclusion of direct review or the
                                               expiration of the time for seeking such _re.view;

                                           (8) the date on which the impediment to filing an application created by State action in violation
                                               of the Constitution or la.ws of the United States is removed, if the applicant was prevented
                                               from filing by such state action;

                                           (C) the date on which the constitutional right asserted was initially recognized by the Supreme
                                                Court, if the right has been newly recognized by the Supreme Court and made retroactively
                                               ·applicable to cases on collateral review; or ·-

                                            (D) the date on which the factual predicate of the claim or claims presented could have been
                                           ·    discovered through the exercise of due diligence.

                                   (2)     The time during which a properly filed application for State ·post-conviction or other collateral
                                           review with respect to the pertinent judgment or claim is pending shall not be counted toward any
                                           period of limitation under this subsection.


                                   Therefore, petitioner asks that the Court grant the following relief: release Petitioner from custody
               dismiss and discharge this case;                                    grant the Petitioner an evidentiary
            hearing as he has presented a                               claim of arguable merit;                        grant Petitioner
        a    new trial;                  reverse Petitioner's conviction and sentence;                                        vacate present
judgment and,6r any other relief to which petitioner may be entitled.




                                                                                              Signature ofAttorney (if any)
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        I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this
        Petition for Writ of Habeas Corpus was placed in the prison mailing system on r-/ r1                202


        Executed (signed) on~rJ~t~'-"~....'.is'......,_
                                                   ; _Z._o_2.
                                                            _\ ______(date).




        If the person signing is not the petitioner, state the relationship to petitioner and explain why petitioner is not signing

        this petition. - - - - - - - - - - ~ - - - - - - - - - - - - - - - - - - - - - - - - - - - -
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